                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA                    )
                                            )
               v.                           )       CASE NO. DNCW 3:97CR294-02-MU
                                            )       (Financial Litigation Unit)
STEVEN EUGENE CHAMBERS,                     )
                                            )
and                                         )
                                            )
UNIVERSAL HEALTH                            )
& FITNESS, LLC,                             )
                Garnishee.                  )

                        WRIT OF CONTINUING GARNISHMENT

GREETINGS TO:         Universal Health & Fitness, LLC
                      1609 Westover Street
                      Gastonia, NC 28056
                      Attn: April Hartman-Arney

        An Application for a Writ of Garnishment against the property of Steven Eugene Chambers,

Defendant/debtor, has been filed with this Court. A judgment has been entered against the

Defendant/debtor. The total balance of $3,535,733.58, computed through August 15, 2011, is due

and owing.

        You, as Garnishee, are required by law to answer in writing, under oath, within ten (10)

days of service of this Writ, whether or not you have in your custody, control or possession, any

property or funds owned by the Defendant/debtor, including non-exempt, disposable earnings.

        You must withhold and retain any property in which the Defendant/debtor has a

substantial non-exempt interest and for which you are or may become indebted to the

Defendant/debtor pending further order of the Court. This means that you should withhold 25% of



the Defendant/debtor's earnings which remain after all deductions required by law have been




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withheld and 100% of all 1099 payments. See 15 U.S.C. § 1673(a).

        Please state whether or not you anticipate paying the Defendant/debtor any future payments

and whether such payments are weekly, bi-weekly, monthly, annually or bi-annually.

       You must file the original written Answer to this Writ within ten (10) days of your receipt

of this Writ with the following office:

                            Clerk of the United States District Court
                                      401 West Trade Street
                                       Charlotte, NC 28202

       Additionally, you are required by law to serve a copy of the Answer upon the

Defendant/debtor at his last known address:

                                     Steven Eugene Chambers
                                     XXXXXXXXXXXXXX
                                        Belmont, NC 28012

       You are also required to serve a copy of the Answer upon the Plaintiff at the following

address:

                      Jennifer A. Youngs, Assistant United States Attorney
                                 United States Attorney's Office
                                    Financial Litigation Unit
                               227 West Trade Street, Suite 1650
                                      Charlotte, NC 28202

       Under the law, there is property which is exempt from this Writ of Garnishment. Property

which is exempt and which is not subject to this Order may be listed on the attached Claim for

Exemption form.

       Pursuant to 15 U.S.C. § 1674, you, the Garnishee, are prohibited from discharging the

Defendant/debtor from employment by reason of the fact that his earnings have been subject to

garnishment for any one indebtedness.




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       Pursuant to 28 U.S.C. § 3205(c)(6), if you fail to answer this Writ or withhold property

or funds in accordance with this Writ, the United States of America may petition the Court for an

order requiring you to appear before the Court to answer the Writ and to withhold property before

the appearance date. If you fail to appear or do appear and fail to show good cause why you failed

to comply with this Writ, the Court shall enter a judgment against you for the value of the

Defendant/debtor's non-exempt interest in such property. The Court may award a reasonable

attorney's fee to the United States and against you if the Writ is not answered within the time

specified. It is unlawful to pay or deliver to the Defendant/debtor any item attached by this Writ.

       SO ORDERED.                               Signed: August 15, 2011




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